Case 9:22-cr-80022-AMC Document 353 Entered on FLSD Docket 10/07/2022 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 22-80022-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  DANIEL M. CARVER, et al.,

         Defendants.
                                                                     /

                ORDER GRANTING IN PART AND DENYING IN PART
              MOTION TO INTERVENE AND GRANTING MOTION TO SEAL

         THIS CAUSE comes before the Court upon The Miami Herald’s Motion to Intervene and

  for Access to Sealed Records, filed on September 15, 2022 [ECF No. 328], and the United States’

  Motion to File Partially Redacted Versions of Previously Sealed Documents (“Motion to Seal”),

  filed on September 20, 2022 [ECF No. 332]. The Court has reviewed the Motion to Intervene

  [ECF No. 328], the Motion to Seal [ECF No. 332], the United States’ Response to the Motion to

  Intervene [ECF No. 331], the Reply to the Motion to Intervene [ECF No. 334], and the full record.

  For the reasons set forth below, the Motion to Intervene and for Access to Sealed Records

  [ECF No. 328] is GRANTED IN PART AND DENIED IN PART, and the Motion to Seal

  [ECF No. 332] is GRANTED.

                                       MOTION TO INTERVENE

         The Miami Herald seeks to intervene in these proceedings for the limited purpose of

  petitioning the Court to unseal the following documents: (1) the United States’ April 8, 2022

  Motion to Seal [ECF No. 176]; (2) the United States’ April 8, 2022 Partially Opposed Motion for

  Discovery Protocol Governing Disclosure of Material Subject to Claims of Privilege and
Case 9:22-cr-80022-AMC Document 353 Entered on FLSD Docket 10/07/2022 Page 2 of 5

                                                                 CASE NO. 22-80022-CR-CANNON


  accompanying exhibits [ECF No. 177]; (3) the United States’ April 29, 2022 Motion to Seal

  [ECF No. 215]; (4) the United States’ April 29, 2022 Reply in Support of Partially Opposed

  Motion for Protocol Governing Material Subject to Claims of Privilege and accompanying exhibits

  [ECF No. 216]; (5) the Court’s May 5, 2022 Order Granting Motion to Seal Reply in Support of

  Partially Opposed Motion for Discovery Protocol [ECF No. 219]; and (6) the Court’s May 6, 2022

  Order Granting Motion for Discovery Protocol Governing Disclosure of Material Subject to

  Claims of Privilege [ECF No. 220].

         The United States, in its response to the Motion to Intervene, states that, while it opposes

  a complete unsealing of the filings, it does not oppose a partial unsealing of the filings in a manner

  that protects the disclosure of grand jury information protected by Federal Rule of Criminal

  Procedure 6(e) [ECF No. 331 p. 1]. The United States notes that it does not oppose the complete

  unsealing of Sealed Docket Entries 176, 215, and 219, which do not contain protected material

  [ECF No. 331 p. 2]. However, in order to protect the grand jury information covered by Federal

  Rule of Criminal Procedure 6(e) contained in Sealed Docket Entries 177, 216, and 220, the United

  States has filed a Motion to Seal accompanied by redacted versions of the requested sealed docket

  entries [ECF No. 332].

         The Miami Herald responds in Reply that any redactions must be narrowly tailored, and

  that any partial sealing be accompanied by a Court order explaining the grounds that are sufficient

  to overcome the Amendment right of access to court records [ECF No. 334 p. 2].

         “The press has standing to intervene in actions to which it is otherwise not a party in order

  to petition for access to court proceedings and records.”          In re Petition of Tribune Co.,

  784 F.2d 1518, 1521 (11th Cir. 1986). As mentioned, the Miami Herald seeks to intervene in this

  matter to request access to certain sealed documents on the docket. The Miami Herald has standing




                                                    2
Case 9:22-cr-80022-AMC Document 353 Entered on FLSD Docket 10/07/2022 Page 3 of 5

                                                                 CASE NO. 22-80022-CR-CANNON


  to seek such intervention. See id. As such, the Court grants the request to intervene. The Miami

  Herald is permitted to intervene in this matter for the limited purpose of requesting access to sealed

  records. The Court’s order on what is to be unsealed follows below.

                                             MOTION TO SEAL

         The United States does not oppose the Miami Herald’s request to unseal in full Sealed

  Docket Entries 176, 215, and 219. The Clerk is thus directed to unseal Docket Entries 176, 215,

  and 219 as indicated below. Further, because Docket Entry 176 is being unsealed, the Court also

  unseals its April 13, 2022 Sealed Order Granting Government’s Sealed Motion to Seal

  Government’s Partially Opposed Motion for Discovery Protocol Governing Disclosure of Material

  Subject to Claims of Privilege [ECF No. 183].

         The United States does oppose, however, the complete unsealing of Sealed Docket Entries

  177, 216, and 220 (and any exhibits attached thereto) on the basis that such documents contain

  grand jury information protected by Federal Rule of Criminal Procedure 6(e) and other material

  that relates to ongoing criminal investigations [ECF No. 332 p. 1]. To this end, the United States

  supplies three exhibits containing proposed redactions to Sealed Docket Entry 177 [ECF No. 332-2

  pp. 1–171], Sealed Docket Entry 216 [ECF No. 332-2 pp. 172–194], and Sealed Docket Entry 220

  [ECF No. 332-2 pp. 195–205].

         The Court has reviewed the United States’ proposed redactions to Sealed Docket Entries

  177, 216, and 220 and finds that the redactions are narrowly tailored to provide public access while

  also ensuring the protection of information covered under Federal Rule of Criminal Procedure

  6(e). In restricting public and press access to criminal proceedings, the Court must articulate

  specific “findings that closure is essential to preserve higher values and is narrowly tailored to

  serve that interest.” Press Enterprise Co. v. Superior Court of California, 464 U.S. 501 (1984).




                                                    3
Case 9:22-cr-80022-AMC Document 353 Entered on FLSD Docket 10/07/2022 Page 4 of 5

                                                                CASE NO. 22-80022-CR-CANNON


  Federal Rule of Criminal Procedure 6(e) prohibits the disclosure of grand jury records by requiring

  that “[r]ecords, orders and subpoenas relating to grand jury proceedings … be kept under seal …

  to prevent the unauthorized disclosure of a matter occurring before a grand jury.” Fed. R. Crim.

  P. 6(e)(6). The secrecy of grand jury proceedings is “an integral part of our criminal justice

  system.” Blalock v. United States, 844 F.2d 1546, 1555 (11th Cir. 1988). The “‘indispensable

  secrecy of grand jury proceedings’ must not be broken.” United States v. Procter, 356 U.S. 677,

  682 (1958) (quoting United States v. Johnson, 319 U.S. 503, 513 (1943)).

         Here, the Court finds that the complete unsealing of Sealed Docket Entries 177, 216, and

  220 would be adverse to the compelling government interest in grand jury secrecy protected by

  Federal Rule of Criminal Procedure 6(e)(6). The United States has consented to the Court

  unsealing the requested docket entries with certain information redacted. In reviewing those

  proposed redactions, the Court finds that they are narrowly tailored to serve the government’s

  interest in protecting the secrecy of grand jury proceedings. The United States’ proposed limited

  redactions restrict the right to information no more than is necessary to ensure the secrecy of grand

  jury proceedings.

                                                        ***

         Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

         1. The Miami Herald’s Motion to Intervene and for Access to Sealed Records

             [ECF No. 328] is GRANTED IN PART AND DENIED IN PART.

                 a. The Miami Herald shall be permitted to intervene in this matter for the purpose

                      of requesting access to sealed records.

                 b. The Clerk is directed to unseal Docket Entries 176, 183, 215, and 219.




                                                    4
Case 9:22-cr-80022-AMC Document 353 Entered on FLSD Docket 10/07/2022 Page 5 of 5

                                                              CASE NO. 22-80022-CR-CANNON


        2. The United States’ Motion to Seal [ECF No. 332] is GRANTED.

                  a. On or before October 12, 2022, the United States shall file—as three

                     separate docket entries—partially redacted versions, as proposed, of

                     Docket Entries 177, 216, and 220 [ECF No. 332-2].

        3. In light of the forthcoming unsealing, in partially redacted form, of Docket Entries 177,

            216, and 220, the United States shall file, on or before October 13, 2022, a notice

            indicating its position with respect to unsealing the Motion to Seal and its exhibits

            [ECF Nos. 332, 332-1, 332-2].

        DONE AND ORDERED in Chambers at Fort Pierce, Florida this 7th day of

  October 2022.



                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




                                                 5
